               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 27-3


UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )             ORDER
                                               )
EZEQUIEL LEAL GARCIA,                          )
                                               )
                 Defendant.                    )
____________________________________           )


       THIS CAUSE coming on to be heard and being heard before the undersigned

upon a Violation Report (#28) filed in the above entitled cause on September 26, 2012

by the United States Probation Office. In the Violation Report, the United States

Probation Office alleges that defendant had violated terms and conditions of his

pretrial release. At the call of this matter on for hearing it appeared the defendant was

present with his counsel, Noell P.Tin, and the Government was present through

Assistant United States Attorney, John Pritchard. From the evidence offered and from

the statements of the Assistant United States Attorney and the attorney for the

defendant, and the records in this cause, the court makes the following findings.

       Findings: At the call of the matter, the defendant, by and through his attorney,

admitted the allegations contained in the Violation Report (#28) that had been filed

on September 26, 2012.

       The defendant was charged in a bill of indictment (#1)filed on April 4, 2012



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with conspiracy to distribute cocaine in violation of 21 U.S.C. § 846 and 841(a)(A).

A hearing was held in regard to the detention of defendant on April 12, 2012 and the

undersigned entered an Order releasing defendant on a $25,000 unsecured bond. The

undersigned further set conditions of release which included the following:

         (1)   The defendant must not commit any offense in violation of federal, state

               or local law while on release;

         (8)(o) refrain from use of alcohol;

         (8)(r) defendant participate in a program of inpatient or outpatient substance

               abuse therapy and counseling if the Office of Probation and Pretrial

               Services considers it advisable.

         On August 30, 2012 defendant was charged with misdemeanor injury to

personal property and misdemeanor intoxicated and disruptive. On September 14,

2012 defendant was charged with misdemeanor intoxicated and disruptive and

misdemeanor container of alcohol in a passenger area of vehicle. Defendant tested

positive for use of alcohol on July 2, 2012. Defendant further refused to participate

in scheduled drug treatment sessions.

         Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial officer

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      (1)    finds that there is----
             (A) probable cause to believe that the person has committed a
      Federal, State, or local crime while on release; or
             (B) clear and convincing evidence that the person has violated any
       other condition of release; and
      (2)    finds that ---
             (A) based on the factors set forth in section 3142(g) of this title, there
      is no condition or combination of conditions of release that will assure that the
      person will not flee or pose a danger to the safety of any other person or the
      community; or
             (B) the person is unlikely to abide by any condition or combination
      of conditions of release.

       If there is probable cause to believe that, while on release, the person committed
a Federal, State, or local felony, a rebuttable presumption arises that no condition or
combination of conditions will assure that the person will not pose a danger to the
safety of any other person or the community.”


      Based upon the Violation Report and the admission of defendant to the

violations contained in the report, there is probable cause to believe that defendant

committed state crimes while on release. There is further probable cause to believe

that defendant has consumed alcohol and has refused to participate in a program of

inpatient or outpatient substance abuse therapy and counseling.

      Due to the findings made above and also considering the factors as set forth

under 18 U.S.C. § 3142(g) it appears there is no condition or combination of

conditions of release that will assure that defendant will not pose a danger to the safety

of any other person or the community. It has been shown by clear and convincing

evidence, including the admission of defendant, that he has violated the term and


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condition of pretrial release that states that defendant shall not commit any offense in

violation of federal, state or local law. It is the opinion of the undersigned that based

upon defendant’s actions it is unlikely defendant will abide by any condition or

combination of conditions of release. As a result of the above referenced findings, the

undersigned has determined to enter an order of revocation revoking the unsecured

bond and the terms of pretrial release previously issued in this matter and entering an

order detaining the defendant.

                                       ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is

ORDERED the defendant be detained pending further proceedings in this matter.



                                           Signed: October 2, 2012




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